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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   Case No.: 0:18-cv-61555-UU

 ALKAWANNA S. KELLEY,

        Plaintiff,

 v.

 FLORIDA INTERNATIONAL UNIVERSITY,

        Defendant.
                                                    /

                     ORDER OF INSTRUCTIONS TO PRO SE LITIGANT

        Plaintiff, Alkawanna S. Kelley, is currently proceeding pro se. In a pro se case, it is

 essential that the pro se litigant understand certain procedural information. Accordingly, it is

 ORDERED AND ADJUDGED as follows:

        1.      It is the responsibility of a litigant to keep the Court advised of his or her current
                address at all times. Accordingly, a pro se litigant must promptly notify the Court
                in writing of any change of his or her address. This notice must be provided on a
                paper labeled “Notice of Change of Address” and must include the case number,
                the litigant’s name, and the new address. A copy must be sent to counsel for the
                opposing side, and the notice shall include a certificate of service that a copy had
                been sent to counsel for the opposing side. Failure to promptly notify the Court of
                any change in address may result in dismissal of the case for lack of prosecution.

        2.      The Plaintiff shall serve upon the Defendant and the Defendant upon the Plaintiff,
                or, if appearance by counsel has been entered, upon their respective counsel,
                copies of all further pleadings or other documents submitted for consideration by
                the Court. This means that before counsel has appeared for the Defendant, the
                Plaintiff shall send to the Defendant personally a copy of every further pleading,
                motion, or other paper submitted to the Court. After counsel has appeared for the
                Defendant, the copy shall be sent directly to counsel for the Defendant, rather
                than to the Defendant personally. Each litigant shall include with each motion or
                other paper submitted to be filed a certificate stating the date that an accurate copy
                of the motion or other paper was mailed to counsel for the opposing party. If any
                motion or other paper submitted to the Court does not include a certificate of
                service upon the counsel for the opposing party, it will be stricken by the Court.
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        3.     All pleadings must include the case number at the top of the first page. The
               parties shall send the original of every pleading or document to the Clerk of this
               Court. Miami cases to be filed at 400 N. Miami Avenue, Miami, Florida 33128-
               7788. Each submission shall include 1) a copy of the document, and 2) a
               certificate of service stating the date a true copy of the document was sent to the
               counsel for Defendant.

        4.     No original document shall be sent directly to a Judge or Magistrate of this Court.
               Any paper submitted directly to a Judge or Magistrate rather than to the Clerk will
               be disregarded by the Court.

        5.     No letters can be sent to the Clerk of Court or to any District or Magistrate Judge
               concerning the case. All letters will be ignored. A pro se litigant may file a
               motion, a memorandum, any pleading allowed by the procedural rules, or any
               document ordered by the Court, but no letters will receive a response.

        6.     A pro se litigant and his or her family, friends or acquaintances must not call any
               Judge’s office for any reason. No information about the case can be obtained
               from the Judge’s office. Brief case status information contained on the docket
               sheet may be available from the Clerk of Court, but no Court employee can
               provide legal advice to any litigant, pro se or otherwise.

        7.     Pro se litigants are instructed to comply with all of the deadlines contained in the
               orders issued by this Court, the Local Rules of this District, and the Federal Rules
               of Civil Procedure.

        8.     It is the Defendant’s responsibility to defend this case. Failure to do so may result
               in default being entered without further notice.

        9.     An electronic copy of the Federal Rules of Civil Procedure is available at
               http://www.uscourts.gov/rules/newrules4.html and of the of the Southern District
               of Florida Local Rules at http://www.flsd.uscourts.gov/. Pro se litigants must
               familiarize themselves with these Rules which are strictly enforced.

        DONE AND ORDERED in chambers at Miami, Florida this _9th_ day of July, 2018.




                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE
 cc:
 counsel of record via cm/ecf
 pro se Plaintiff
